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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION


JESSIE RAY WILLIAMS                                                                 PLAINTIFF

v.                                  Case No. 1:24-cv-1063

ASHLEY COUNTY SHERIFF DEPARTMENT                                                  DEFENDANT

                                                ORDER

       Before the Court is the Report and Recommendation filed October 25, 2024, by the

Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

ECF No. 10. Judge Bryant recommends that Plaintiff’s complaint be dismissed without prejudice

for failure to comply with the Court’s order.

       No party has filed objections to the Report and Recommendation, and the time to object

has passed.    See 28 U.S.C. § 636(b)(1).         Therefore, the Court adopts the Report and

Recommendation (ECF No. 10) in toto. Accordingly, the Court finds that Plaintiff’s complaint

should be and hereby is DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED, this 18th day of November, 2024.


                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            Chief United States District Judge
